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 6   Attorneys for Defendant JORGE SANDOVAL
 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           )
12                                       )                Case No. 2:11-cr-00119 WBS
                       Plaintiff,        )
13
                                         )                STIPULATION AND [PROPOSED]
14         vs.                           )                ORDER TO EXCLUDE TIME
                                         )
15   JORGE SANDOVAL,                     )
                                         )
16
                       Defendants.       )
17   ____________________________________/

18          The parties hereby stipulate that the status conference in this case be continued from
19
     Monday June 9, 2014, at 9:30 a.m. to Monday, August 4, 2014, at 9:30 a.m. The parties stipulate
20
     that the time between June 9, 2014, and August 4, 2014, should be excluded from the calculation
21

22   of time under the Speedy Trial Act. The parties stipulate that the ends of justice are served by

23   the Court excluding such time, so that counsel for the defendant may have reasonable time
24
     necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
25
     § 3161(h)(7)(B)(iv) and Local Code T-4. Moreover, the parties continue to engage in
26
     discussions about a possible resolution that could benefit the defendant by significantly reducing
27

28   his possible sentencing exposure in this case. For these reasons, the defendant agrees that a

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 1   continuance. Therefore the parties have stipulated to continue the status conference in this case.
 2
     The parties stipulate and agree that the interests of justice served by granting this continuance
 3
     outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161
 4

 5
     (h)(7)(A).

 6            The parties further request that this matter be taken off the June 9, 2014 calendar before
 7   Judge William B. Shubb and be rescheduled for August 4, 2014, at 9:30 a.m. before Judge
 8
     Shubb.
 9
                                                            Respectfully submitted
10

11                                                          LAW OFFICES OF TIM A. PORI

12   Date: June 6, 2014                                     /s/ Tim A. Pori_______________
                                                            TIM A. PORI
13
                                                            Attorney for Defendant SANDOVAL
14

15
     Date: June 6, 2014                                     /s/ Jason Hitt (Authorized 6/4/2014)
16
                                                            JASON HITT
17                                                          Assistant United States Attorney

18

19
                                                       ORDER
20
              IT IS HEREBY ORDERED that the Status Conference in the above-entitled matter is
21

22   continued to August 4, 2014, at 9:30 a.m. before the Honorable William B. Shubb and that the

23   time between June 9, 2014, and August 4, 2014, be excluded from the calculation of time under
24
     the Speedy Trial Act.
25
     Dated: June 9, 2014
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